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                           UN ITED STA TES DIST RIC T CO UR T
                           SO U TH E RN D ISTR ICT O F FLO R IDA
                                 CA SE N O .17-20275-CR -U U

UN ITED STA TES OF A M ERICA

V S.

KEVIN FU SCO ,
     a/k/a EûPOLIRA ''

              Defendant.
                                  /

                                   FA CT UA L PRO FFE R

       If this nlaûer Nvere to proceed to trial,the Governm ent would prove the stated facts

beyond a reasonable doubt.

                   STOLIRA''VendoronN ucleusand OtherDark W eb M arket

       1.     Since atleastSeptember of2015,agentsidentified anarcoticsvendor,known as

GT OLIRA,''appearing on the NucleusM arket.Dark W eb marketplaces,such asNucleus,allow

venders,in conspiracy with the unknown m arketplace administrators,to distribute controlled

substances anonym ously online and latmder the proceeds through a series of com plex bitcoin

transactions designed to concealthe nature,source,and controlofthe funds.

              O n tw o occasions, D EA agents m ade undercover online purchmses of M D M A

from ûtPO LIR A''and received the M D M A via U .S.M ail,shipped to undercover m ailboxes in

M inm i,Florida:

              a.      On O ctober 14,2015,D EA agents purchased 1 gram of M DM A from

       EtPOLIRA''on the Nucleus M arketplace for0.2749 bitcoins.In the description,POLIRA

       stated:i$1 Grnm M DM A -Lab Tested 88% pureli''and,
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              b.     O n N ovem ber 17,2015, DEA agents purchased 25 M D M A pills from

       ûIPO LIIIA ''on the N ucleus M arketplace for 1.176 bitcoins.In the description,PO LIRA

       stated:1ç5 Yellow Snapchat-220mg M DM A.''

              ln both instances, the controlled substances w ere shipped via U nited States

Priority M ailw ith N ew Y ork City return addresses.Laboratory results have confinned thatthe

itemsreceived in M iam i,Florida,contained M DM A.

       4.     Based on ûtPOLlRA 's''profile on N ucleus,as w ellas vendor review s on various

internetforum s,ItPOLIRA''hasconducted hundredsof transactions on atleasttwo Dark W eb

m arketplaces, including: N ucleus w ith at least 492 transactions and A gora w ith an unknow n

num beroftransactions. O n both m arketplaces,EtPOLIR A''advertised M DM A .

              Each ofthe 492 transactions on N ucleus consisted of at least 1 gram of M DM A

foratotalquantity distributed of492 gram sofM DM A.

                                Kevin FU SCO wasfIPOLIRA''

        6.    Atalltim esthe defendant,Kevin FUSCO,wasin factoperating on the dark web

 asPOLIRA and conspiring to distribute M DM A and laundertheproceedsin bitcoin asoutlined

 above.

              Since the tim e of the tèrst controlled purchase from EtPOLIR A'' on O ctober 14,

 2015,DEA and otherlaw enforcem entagentswere able to confnn the identity FUSCO asthe

 SEPOLIRA'' on Nucleus using the shipping records associated with the packages of drugs

 shippedtoDEA viatheUnitedStatesPostalService(USPS).
        8.    U SPS records revealed that the aforem entioned undercover drug purchmse on

 N ovem ber 17,2015 w as shipped using postage purchased at ttstam ps.com ''.Records obtained

 from Smmps.com revealed thatthe Stamps.com accountused by tTOLIRA''to ship thednzgsto
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 UC agentswasopened in January of2014 and registered underthe nam eofûûKevin Fusco''and

 address226 E 14th Street,Apartm ent4R,New York,New York 10003. A search ofN ew York

 Departm entofM otorVehiclesdatabaserevealed thatFUSCO residesatthataddress.

        9.    FUSCO 'S Stamps.com accountfurther revealed thatbetween January 2014 and

 August2016,thousands of dollars in postage w as purchased and used for individualm ailings

 and packages,dozensofwhich were shipped to addressesin the Southern DistrictofFlorida. In

 addition,Stam ps.com IP connedion recordsrevealed loginsinto FUSCO'SStamps.com account

 from IP addresses belonging to Time W anwr Cable. Records from Time W arner Cable

 revealed the Stnm ps.com login lPs were assigned to FUSCO atthe exactdates and times that

 the IPs were captured by the Stam ps.com system ,and that FUSCO subscribed to wireless

 internetservice with service address atthe Fusco Residence.

              FUSCO'S Stam ps.com IP connection records also revealthat on Novem ber 15,

 2015,Stamps.com captured a login IP addressbelonging to the Tideline Resortin Palm Beach,

 Florida. A subpoena to Tideline Resort revealed that FU SCO stayed at the resort from

 N ovem ber 14,2015 to N ovem ber 16,2015.

        11. ln addition,the Stamps.com records revealed thatFUSCO shipped hispackages

 from the New York area and that during the tim e period thatFUSCO stayed atthe Tideline

 Resort in Florida, there was shipping inactivity. Sim ilarly,FUSCO'S Stamps.com account

 showed shipping inactivity from February 22,2016 to M areh 28,2016,coinciding with a time

 thatFU SCO isknow n to have been travelling overseas,based U .S.imm igration records.
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                                     Bitcoin Analysis

        12.   A nalysis of bitcoin wallets and addresses associated with FU SCO revealed

transfers from otheraddresses known to be associated with Dark W eb marketplaces,consistent

w ith FU SCO 'S laundering of his narcotics trafficking proceeds on the Dark W eb and then

transferringthem outto otherbitcoin addresseshe controlled.FUSCO laundered and received at

least$100,000 in narcoticstraffickingproceedsduringthe conspiracy.


                                         BEN JA M W G .GREEN BERG
                                         A CTW G UN ITED STA TES A TTO RN EY


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